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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA,
Plaintiff,
Vv. Case No. 19-cv-682-wmce
WADE C. STANLEY, CYNTHIA M.
STANLEY, ARTHUR F. STANLEY, and
CYNTHIA A. STANLEY, ,

Defendants.

 

ORDER OF DISMISSAL

 

The plaintiff, United States of America, having moved this court to dismiss the
above-captioned case without prejudice under Fed. R. Civ. P. 41(a)(2), and based upon
the records and proceedings held in this matter,

THE COURT FINDS:

1. A judgment may be vacated under Fed. R. 60(b)(6) “for any other reason
that justifies relief.”

2, In this case, Wade C. and Cynthia M. Stanley (“Stanleys”) and the United
States have reached a settlement and payment has been received. As a result, the United
States no longer has an interest in the subject property and no longer wishes to pursue
foreclosure.

3. The Stanleys presumably prefer not to have a judgment of foreclosure

against them.

 
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4, In light of the procedural history of this case, relief under Rule 60(b) is
justified, and dismissal without prejudice under Rule 41(a)(2) is proper.
IT IS HERBY ORDERED that:
1. Plaintiff United States of America’s motion to vacate judgment and dismiss
the complaint is GRANTED.
2. The judgment is vacated, and the case is dismissed with prejudice.

Entered this / Ursa of Oxeoben 2020.

BY THEX:OURT:

 
 

ted States District Judge
Westérn District of Wisconsin

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